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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

    TRACY SANDERS, ARIANA
    THOMPSON, TANIKA JONES,
    ALEXIS THOMPSON, and
    ZACKA GOMES, individually and
    on behalf of all others similarly
    situated who consent to their
    inclusion in a collective action,
    Plaintiffs,
    vs.                                       Civil Action File No.
                                              _____________
    MCCLURE AND STEVENSON
    INVESTMENTS, LLC and
    FELISHA STEVENSON,
    Defendants


                                    COMPLAINT
   Plaintiffs Tracy Sanders, Ariana Thompson, Tanika Jones, Alexis Thompson,

and Zacka Gomes bring this Complaint against McClure and Stevenson

Investments, LLC (“MSI”) and Felisha Stevenson (“Stevenson”) showing the

Court as follows:

   INTRODUCTION

   This is an FLSA case. Plaintiffs bring this action because Defendants have

systematically failed to pay them the minimum wages they are due and are

required by the Fair Labor Standards Act of 1938. Plaintiffs also assert collective

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action allegations on behalf of similarly situated individuals, to wit: all persons

who Defendants employed as debt collectors within three years prior to the filing

of this Complaint and who consent in writing to their inclusion in a collective

action.

JURISDICTION AND VENUE

                                            1.

   This Court has subject matter jurisdiction over the present action under Article

III, § 2 of the United States Constitution, FLSA § 16(b), 29 U.S.C. § 216(b), 28 U.

S.C § 1331, because this case arises under the FLSA, a federal statute that affects

interstate commerce.

                                            2.

   Venue properly lies in the Northern District of Georgia under 28 U.S.C. § 1391

because MSI and Stevenson are located in this judicial district, a substantial

portion of the events giving rise to the claims herein arose in this judicial district.

THE PARTIES

                                            3.

   Sanders resides in DeKalb County, Georgia.

                                            4.

   Ariana Thompson resides in DeKalb County, Georgia.
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                                           5.

   Jones resides in DeKalb County, Georgia.

                                           6.

   Alexis Thompson resides in DeKalb County, Georgia.

                                           7.

   Gomes resides in DeKalb County, Georgia.

                                           8.

   Stevenson resides in Cobb County, Georgia.

                                           9.

   Stevenson is subject to the personal jurisdiction of this Court.

                                           10.

   MSI is a limited liability company organized under the laws of the State of

Georgia.

                                           11.

   MSI can be served via its registered agent, Felisha Stevenson, at 3300 Windy

Ridge Pkwy, Unit 1108, Atlanta, Georgia 30339.

                                           12.

   MSI is subject to the personal jurisdiction of this Court.




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                                          13.

   At all times material hereto, MSI has been engaged in the business of collecting

debts.

                                          14.

   At all times material hereto, MSI has operated its business from offices located

at 3576 Covington Highway, Decatur, Georgia. 30032 and 1755 The Exchange Dr.,

Ste. 520, Atlanta, GA 30039.

                                          15.

   At all times material hereto, MSI has been an “enterprise engaged in commerce

or in the production of goods for commerce” as defined in the FLSA § 6(a), 29

U.S.C. § 206 (a).

                                          16.

   At all times material hereto, MSI has been an “enterprise engaged in commerce

or in the production of goods for commerce” as defined in the FLSA § 3(s)(1), 29

U.S.C. § 203(s)(1)

                                          17.

   At all times material hereto, MSI employed two or more “employees engaged in

commerce” as defined by 29 U.S.C. § 203(s)(1)(A).




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                                           18.

   At all times material hereto, MSI employed two or more “employees handling,

selling or otherwise working on goods or materials that have been moved in or

produced for commerce by any person.” as defined in 29 U.S.C. § 203(s)(1)(A),

including telephones, computers, Internet, credit card processing software, and

other office equipment.

                                           19.

   In all relevant years, MSI had an annual gross volume of sales made or business

done of not less than $500,000 (exclusive of excise taxes at the retail level that are

separately stated) within the meaning of 29 U.S.C. § 203(s)(1)(A).

                                           20.

   In 2012, MSI had an annual gross volume of sales made or business done of not

less than $500,000 (exclusive of excise taxes at the retail level that are separately

stated) within the meaning of 29 U.S.C. § 203(s)(1)(A).

                                           21.

   In 2013, MSI had an annual gross volume of sales made or business done of not

less than $500,000 (exclusive of excise taxes at the retail level that are separately

stated) within the meaning of 29 U.S.C. § 203(s)(1)(A).




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                                           22.

   In 2014, MSI had an annual gross volume of sales made or business done of not

less than $500,000 (exclusive of excise taxes at the retail level that are separately

stated) within the meaning of 29 U.S.C. § 203(s)(1)(A).

                                           23.

   At all times material hereto, Stevenson was the Managing Member of MSI.

                                           24.

   At all times material hereto, Stevenson designed, set in place and controlled the

pay rate and method of pay for Plaintiffs and the class they seek to represent.

                                           25.

   At all times material hereto, Stevenson had authority and exercised control over

the finances and operations of MSI.

                                           26.

   At all times material hereto, Stevenson had authority and control over MSI’s

policy to avoid payment of minimum wages to persons it employed as debt

collectors.

                                           27.

   At all times material, Stevenson was an “employer” of Plaintiffs and the class

they seek to represent as defined in FLSA § 3(d), 29 U.S.C. § 203(d).

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COMMON FACTUAL ALLEGATIONS
                                           28.

   At all times material hereto, Defendants advertised on the website “Craigslist”

soliciting candidates for debt collection positions.

                                           29.

   At all times material hereto, Defendants’ advertisement read as follows:

   IMMEDIATELY HIRING DEBT COLLECTORS!!! (United States)

   We are growing extremely fast in both Marietta and Decatur. We need people

that want to work now!!!

  ******PICK UP THE PHONE AND SCHEDULE AN IMMEDIATE PHONE
INTERVIEW**********
  We offer:
  : Two week training program
  : High Commission
  : Bonus Pay
  : Daily Prizes & Incentives
  : Mon-Fri Schedule (1 mandatory sat)

   APPLY TODAY

   Job requirements include the following:

   * Excellent phone etiquette/expertise
   * Strong, professional communications skills
   * Negotiating payment plan structures
   * Candidates need to have the ability to work in a faced paced environment
   * Attention to detail, self disciplined, multi tasking
   * Goal driven, team player
   * Ability to diffuse potentially hostile customers

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   QUALIFIED APPLICANTS will receive phone interviews immediately!
   To Apply: Please submit resume to thegfsgroup@usa.com or call:

   DECATUR
   Decatur, GA 30032
   (404) 994-7722 or
   (678) 809-1954

   MARIETTA
   1755 The Exchange Dr.
   Ste. 520
   Atlanta, GA 30039
   (404) 994-7722

    Principals only. Recruiters, please don’t contact this job poster.
    do NOT contact us with unsolicited services or offers

                                          30.
   MSI has operated a collection agency since at least 2013 and continuing
through the present.
                                          31.

   At all times relevant, MSI has hired collection agents while promising them
payment of wages in excess of the minimum wage during a training period,
followed by commissions thereafter.

                                          32.
   At all times relevant, MSI has refused to pay wages to employees who do not
meet quota.




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                                          33.
   At all times relevant, MSI has propounded and enforce a written policy of

deductions for work place violations including:
       Unexcused Tardy: Deduction Amount: $15.00;
       Unexcused Absence: Deduction Amount: $50.00;

       Phone in Work Area: Deduction Amount: $15.00;
       Low Call Volume: Deduction Amount: $5.00.
                                          34.

   Defendants levied these deductions thereby causing employee compensation to
fall below the minimum wage.
                                          35.

   Defendants’ deductions are violations of the FLSA free and clear requirements.
                                          36.
   Defendants’ deductions are undifferentiated, in violation of the FLSA.
                                          37.
   Defendants failed to explain their deductions to employees, in violation of the
FLSA.

                                          38.
   For example, on April 6, 2015 Defendants issued a payroll check and check
stub to Alexis Thompson bearing number 50350.




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                                            39.
   Check stub 50350 showed that Alexis worked 34 hours during the pay period

resulting in gross compensation of $507.50.
                                            40.
   Check stub 50350 further showed that Defendants $505 under the heading

“voluntary deductions” and labeled as “miscellaneous” resulting in net
compensation of $2.50.
                                            41.
   An element of Defendants’ business plan is to avoid paying the FLSA minimum
wage to its employees.

                            COUNT I
        FAILURE TO PAY MINIMUM WAGES TO TRACY SANDERS

                                            42.

   In March 2015, Plaintiff Tracy Sanders answered Defendants’ Craigslist ad.
                                        43.

   Defendants employed Sanders as a full time debt collector from March 16, 2015

through and until March 31, 2015.

                                            44.

   From March 16, 2015 through and until March 31, 2015, Sanders was an

employee covered by the FLSA and entitled to the minimum wage protections set

forth in FLSA § 6(a), 29 U.S.C. § 206(a).

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                                        45.

   From March 16, 2015 through and until March 31, 2015, Sanders was not

exempt from the minimum wage requirements of the FLSA by reason of any

exemption.

                                        46.

   Defendants failed to compensate Sanders at or above the minimum wage for the

work she performed as their employee from March 16, 2015 through and until

March 31, 2015.

                                        47.

   Defendants willfully failed to compensate Sanders at or above the minimum

wage for the work she performed as their employee from March 16, 2015 through

and until March 31, 2015.

                                        48.

   As a result of the underpayment of minimum wage as alleged above, Sanders is

entitled to recover from Defendants, jointly and severally, payment of minimum

wages in an amount to be determined at trial, in accordance with FLSA § 16(b), 29

U.S.C. § 216(b).




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                                           49.

   As a result of the underpayment of minimum wage as alleged above, Sanders is

entitled to recover from Defendants, jointly and severally, liquidated damages in

accordance with FLSA § 16(b), 29 U.S.C. § 216(b).

                                           50.

   As a result of the underpayment of minimum wage as alleged above, Sanders is

entitled to recover from Defendants, jointly and severally, her cost of litigation,

including her reasonable attorney’s fees, in accordance with FLSA § 16(b); 29

U.S.C. § 216(b).

                            COUNT II
       FAILURE TO PAY MINIMUM WAGES TO ARIANA THOMPSON

                                           51.

   In March 2015, Plaintiff Ariana Thompson answered Defendants’ Craigslist ad.
                                       52.

   Defendants employed Ariana Thompson as a full time debt collector from

March 17, 2015 through and until April 3, 2015.




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                                          53.

   From March 17, 2015 through and until April 3, 2015, Ariana Thompson was

an employee covered by the FLSA and entitled to the minimum wage protections

set forth in FLSA § 6(a), 29 U.S.C. § 206(a).

                                          54.

   From March 17, 2015 through and until April 3, 2015, Ariana Thompson was

not exempt from the minimum wage requirements of the FLSA by reason of any

exemption.

                                          55.

   Defendants failed to compensate Ariana Thompson at or above the minimum

wage for the work she performed as their employee from March 17, 2015 through

and until April 3, 2015.

                                          56.

   Defendants willfully failed to compensate Ariana Thompson at or above the

minimum wage for the work she performed as their employee from March 17,

2015 through and until April 3, 2015.

                                          57.

   As a result of the underpayment of minimum wage as alleged above, Ariana

Thompson is entitled to recover from Defendants, jointly and severally, payment of

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minimum wages in an amount to be determined at trial, in accordance with FLSA §

16(b), 29 U.S.C. § 216(b).

                                         58.

   As a result of the underpayment of minimum wage as alleged above, Ariana

Thompson is entitled to recover from Defendants, jointly and severally, liquidated

damages in accordance with FLSA § 16(b), 29 U.S.C. § 216(b).

                                         59.

   As a result of the underpayment of minimum wage as alleged above, Ariana

Thompson is entitled to recover from Defendants, jointly and severally, her cost of

litigation, including her reasonable attorney’s fees, in accordance with FLSA §

16(b); 29 U.S.C. § 216(b).

                             COUNT III
          FAILURE TO PAY MINIMUM WAGES TO TANIKA JONES

                                         60.

   In March 2015, Plaintiff Tanika Jones answered Defendants’ Craigslist ad.
                                         61.

   Defendants employed Jones as a full time debt collector from March 16, 2015

through and until March 30, 2015.




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                                            62.

   From March 16, 2015 through and until March 30, 2015, Jones was an

employee covered by the FLSA and entitled to the minimum wage protections set

forth in FLSA § 6(a), 29 U.S.C. § 206(a).

                                            63.

   From March 16, 2015 through and until March 30, 2015, Jones was not exempt

from the minimum wage requirements of the FLSA by reason of any exemption.

                                            64.

   Defendants failed to compensate Jones at or above the minimum wage for the

work she performed as their employee from March 16, 2015 through and until

March 30, 2015.

                                            65.

   Defendants willfully failed to compensate Jones at or above the minimum wage

for the work she performed as their employee from March 16, 2015 through and

until March 30, 2015.

                                            66.

   As a result of the underpayment of minimum wage as alleged above, Jones is

entitled to recover from Defendants, jointly and severally, payment of minimum




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wages in an amount to be determined at trial, in accordance with FLSA § 16(b), 29

U.S.C. § 216(b).

                                           67.

   As a result of the underpayment of minimum wage as alleged above, Jones is

entitled to recover from Defendants, jointly and severally, liquidated damages in

accordance with FLSA § 16(b), 29 U.S.C. § 216(b).

                                           68.

   As a result of the underpayment of minimum wage as alleged above, Jones is

entitled to recover from Defendants, jointly and severally, her cost of litigation,

including her reasonable attorney’s fees, in accordance with FLSA § 16(b); 29

U.S.C. § 216(b).

                           COUNT IV
       FAILURE TO PAY MINIMUM WAGES TO ALEXIS THOMPSON

                                           69.

   In March 2015, Plaintiff Alexis Thompson answered Defendants’ Craigslist ad.
                                        70.

   Defendants employed Alexis Thompson as a full time debt collector from

March 16, 2015 through and until March 31, 2015.




                                                                                      16
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                                          71.

   From March 16, 2015 through and until March 31, 2015, Alexis Thompson was

an employee covered by the FLSA and entitled to the minimum wage protections

set forth in FLSA § 6(a), 29 U.S.C. § 206(a).

                                          72.

   From March 16, 2015 through and until March 31, 2015, Alexis Thompson was

not exempt from the minimum wage requirements of the FLSA by reason of any

exemption.

                                          73.

   Defendants failed to compensate Alexis Thompson at or above the minimum

wage for the work she performed as their employee from March 16, 2015 through

and until March 31, 2015.

                                          74.

   Defendants willfully failed to compensate Alexis Thompson at or above the

minimum wage for the work she performed as their employee from March 16,

2015 through and until March 31, 2015.

                                          75.

   As a result of the underpayment of minimum wage as alleged above, Alexis

Thompson is entitled to recover from Defendants, jointly and severally, payment of

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minimum wages in an amount to be determined at trial, in accordance with FLSA §

16(b), 29 U.S.C. § 216(b).

                                          76.

   As a result of the underpayment of minimum wage as alleged above, Alexis

Thompson is entitled to recover from Defendants, jointly and severally, liquidated

damages in accordance with FLSA § 16(b), 29 U.S.C. § 216(b).

                                          77.

   As a result of the underpayment of minimum wage as alleged above, Alexis

Thompson is entitled to recover from Defendants, jointly and severally, her cost of

litigation, including her reasonable attorney’s fees, in accordance with FLSA §

16(b); 29 U.S.C. § 216(b).

                             COUNT V
          FAILURE TO PAY MINIMUM WAGES TO ZACKA GOMES

                                          78.

   In March 2015, Plaintiff Zacka Gomes answered Defendants’ Craiglist ad.
                                       79.

   Defendants employed Gomes as a full time debt collector from March 16, 2015

through and until April 3, 2015.




                                                                                  18
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                                        80.

   From March 17, 2015 through and until April 3, 2015, Gomes was an employee

covered by the FLSA and entitled to the minimum wage protections set forth in

FLSA § 6(a), 29 U.S.C. § 206(a).

                                        81.

   From March 17, 2015 through and until April 3, 2015, Gomes was not exempt

from the minimum wage requirements of the FLSA by reason of any exemption.

                                        82.

   Defendants failed to compensate Gomes at or above the minimum wage for the

work she performed as their employee from March 17, 2015 through and until

April 3, 2015.

                                        83.

   Defendants willfully failed to compensate Gomes at or above the minimum

wage for the work he performed as their employee from March 17, 2015 through

and until April 3, 2015.

                                        84.

   As a result of the underpayment of minimum wage as alleged above, Gomes is

entitled to recover from Defendants, jointly and severally, payment of minimum




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wages in an amount to be determined at trial, in accordance with FLSA § 16(b), 29

U.S.C. § 216(b).

                                           85.

   As a result of the underpayment of minimum wage as alleged above, Gomes is

entitled to recover from Defendants, jointly and severally, liquidated damages in

accordance with FLSA § 16(b), 29 U.S.C. § 216(b).

                                           86.

   As a result of the underpayment of minimum wage as alleged above, Gomes is

entitled to recover from Defendants, jointly and severally, her cost of litigation,

including her reasonable attorney’s fees, in accordance with FLSA § 16(b); 29

U.S.C. § 216(b).

                        COUNT VI
    FAILURE TO PAY MINIMUM WAGES TO ALL PERSONS WHO
 WORKED AS DEBT COLLECTORS FOR DEFENDANTS WITHIN THE
 THREE YEARS PRIOR TO THE FILING OF THIS COMPLAINT AND
   WHO CONSENT IN WRITING TO THEIR INCLUSION IN THIS
                  COLLECTIVE ACTION.
                            87.

   The allegations in all previous paragraphs are incorporated by reference as if

fully set out in this paragraph.




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                                           88.

   At all times during the three years prior to the filing of this Complaint,

Defendants failed to pay minimum wages to persons who MSI employed as debt

collectors.

                                           89.

   At all times during the three years prior to the filing of this Complaint,

Defendants willfully failed to pay minimum wages to persons who MSI employed

as debt collectors.

                                           90.

   At all times during the three years prior to the filing of this Complaint, failed to

pay minimum wages to persons who MSI employed as debt collectors in the same

manner as alleged above with respect to Plaintiffs.

                                           91.

   All persons who MSI employed as debt collectors within the three years prior to

the filing of this action are “similarly situated” within the meaning of FLSA § 16

(b), 29 U.S.C. § 216(b).

                                           92.

   Defendants are liable to all individuals similarly situated to Plaintiffs for unpaid

minimum wages, liquidated damages, prejudgment interest, and costs of litigation

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including their reasonable attorney’s fees and, other such equitable and legal relief

that this Court finds proper.

                                           93.

   All individuals who are similarly situated to Plaintiffs were and/or are

“employee(s)” of Defendants as defined in 29 U.S.C. § 203(e)(1).

                                           94.

   At all times material hereto, Defendants have been the “employer” of all

individuals similarly situated to Plaintiffs as defined in 29 U.S.C. § 203(d).

                                           95.

   The proposed collective of individuals similarly situated to Plaintiffs should be

defined as “All individuals who MSI employed as debt collectors at its offices

located at 3576 Covington Highway, Decatur, Georgia. 30032 and 1755 The

Exchange Dr., Ste. 520, Atlanta, GA 30039.”

                                           96.

   Each individual Plaintiff’s Consent To Serve As A Plaintiff Representative

Under The Fair Labor Standards Act is filed herewith as Attachment “A”.

                                           97.

   All such individuals similarly situated to Plaintiffs would benefit from the

issuance of a court-supervised Notice of Present Lawsuit and opportunity to

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consent in writing to their inclusion as plaintiffs in this lawsuit pursuant to 29

U.S.C. § 216(b).

                                             98.

   All such individuals similarly-situated to Plaintiffs are known to Defendants,

are readily identifiable, and can be located through the records of Defendants.

   WHEREFORE, Plaintiffs respectfully pray:

   1.     That Plaintiffs be awarded an amount to be determined at trial against

Defendants, jointly and severally, in unpaid minimum wages, an additional like

amount in liquidated damages and pre-judgment interest;

   2.     That the Court permanently enjoin Defendants from violating the

minimum wage provisions of the FLSA;

   3.     That Plaintiffs be awarded their costs of litigation, including reasonable

attorney’s fees from MSI;

   4.     That the Court issue a Notice of Present Lawsuit to all individuals

similarly situated to Plaintiffs, allowing all such similarly-situated individuals to

file their written consent to join this action as plaintiffs;

   5.     That the Court award all such individuals who “opt in” to this lawsuit

their unpaid wages, liquidated damages, prejudgment interest and their costs of




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litigation including their reasonable attorneys’ fees from Defendants, jointly and

severally; and

   6.    For such other and further relief as the Court deems just and proper.

   Respectfully submitted,

                                              DELONG CALDWELL BRIDGERS
                                              FITZPATRICK & BENJAMIN, LLC

                                              /s/Charles R. Bridgers
                                              Charles R. Bridgers
                                              Ga. Bar No. 080791
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